                                                                        U.S.DIs'
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Case 4:12-cr-00093-Y      Document 145       Filed 09/19/12        NORTHERN   DJ STRICT383
                                                                Page 1 of 2 PageID      OF TEXAS
                                                                               FILED

                      m THE UNITED STATESDISTRICT CO               T         FFq lt?2g12
                      FOR TH E N O RTH ERN DISTRICT OF TE A S
                              FO RT W ORTH DIVISION           CLERK,U.s. DISTRICT coulc
                                                                       By
                                                                                   D eputy
UM TED STATES OF AM ERICA

V S.                                                 CRIM W A L N O . 4:12-CR -093-Y

CLW TON RAY SCROGGW S (09)
            REPO R T O F A CTIO N AN D R EC O M M EN D ATIO N O N PLEA
             BEFO RE TH E UN ITED STA TES M A G ISTR ATE JUD G E

       ThisReportofActiononPleaissubmittedtothecourtpursuantto28U.S.C.j636(b)(3).
ThiscasehasbeenreferredbytheUnitedStatesdistrictjudgetothetmdersignedforthetakingof
aguiltyplea.ThepartieshaveconsentedtoappearbeforeaUnited Statesmagistratejudgefor
thesepurposes.

       The defendantappeared w ith counselbefore the tm dersir ed U nited States m agiskate

judgewhoaddressedthedefendantpersonallyinopen courtandinformedthedefendantofkand
determ ined thatthe defendanttm derstood,the adm onitionscontained in R ule 11 ofthe Federal

RulesofCrim inalProcedm e.

       Thedefendantpledpzilty(ptlrsuanttoapleabargainagreementwiththegovernment)to
countone ofthe one-countsuperseding inform ation charging defendantw ith the violation of21

U.S.C.j846.Thetmdersignedmagistratejudgefindsthefollowing:
       1. The defendant,upon advice ofcounsel,hasconsented orally and in writing to
       enterthisguilty plea before a magistratejudge subjectto finalapprovaland
       sentencingbythepresidingdistrictjudge;
       2. The defendantfully tm derstandsthe nature ofthe charges and penalties;



R eportofA ction and R ecom m endation O n Plea
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Before the U nited StatesM agistrate Judge
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       3. The defendantfully tm derstandsthe term softhe plea agreem ent;

      4. '
         l'he defendantunderstandsa11constitutionaland statutory rightsand w ishesto
      waivetheserights,including therightto atrialbyjtlry and therightto appear
      beforeaUrtitedStatesdistrictjudge;
       5.Thedefendant'spleaism adegeely andvoluntarily;

       6. The defendantis com petentto enterthisplea ofguilty;

       7. There isa factualbasis forthisplea;and

       8.Theendsofjusticeareservedbyacceptanceofthedefendant'spleaofguilty.
       Although lhaveconducted theseproceedings,accepted thedefendant'splea ofguilty,and

pronounced thedefendantguiltyin open cotlrt,upon the defendant'sconsentand thereferralfrom

theUnitedStatesdistrictjudge,thatjudgehasthepowertoreview myactionsinthisproceeding
andpossessesfinaldecisionmnkingauthority.Thus,ifthedefendanthasanyobjectionstothe
findingsoranyotheraction ofthetmdersignedheshouldm akethoselm own totheUnited States

districtjudgewithinfourteendaysoftoday.
       lrecommendthatdefendr t'spleaofguiltybeacceptedandthatthedefendantbeadjudged
guiltybytheUnitedStatesdistrictjudgeandthatsentencebeimposedaccordingly.
       Signed Septem ber 19,2012.



                                                JEFFR E .CU RETON
                                                1.
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CSV
